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                                         Case No. 25-3237

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



UNITED STATES OF AMERICA

              Plaintiff - Appellee

v.

OBED SANCHEZ

              Defendant - Appellant



     Upon consideration of the motion of Lori Beth Riga to withdraw as counsel for the appellant,

     It is ORDERED that the motion be and it hereby is GRANTED. The court will appoint

new counsel to represent the appellant under the Criminal Justice Act.

                                                  ENTERED PURSUANT TO RULE 45(a),
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Kelly L. Stephens, Clerk


Issued: April 10, 2025
